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 7ii                                      D ISTR ICT O F N EV A D A
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 8 UN JTED STATES OF AM ERICA,                            )
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 9                           Plaintiff                    )
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l0           v.                                           )                       2:08-CR-332UC M (GW l7)
                                                          )
11 JEFFREY Ct.JR'I'IS BIGSBY,                             )
  :                                                       )
l2                      Defendant.                        )
13                                       O R DER O F FO RFEIT UR E
14,.         This Courtfound on M ay 26,2010 thatJEFFREY ('
                                                          .U RTIS BIG SBY shallpay a crim inal
     ;I
l5' fortkituremoneyjudgment0t-$4,128,554.00inUnitedStatesCurfencyspursuanttoFed.R.Crim.P.
16i 32.2(b)(1)and (2'
                    );'l'itle 18.United StatesCode.Section 981(a)(l)(C)and Title28,United Staates
l7 Code,Section 2461(c);Title 18.United StatesCode,Sections982(a)(2)(A)and 982(a)(2)(B)$and
18i Title21.UnitedStatesCode,Section853(p).
19           TH EREFORE,IT IS HERIïBY O RD ERED ,AD JU D G ED , AND DECREED thattheUnited

20 Stattzsrecoverhom JEFIJREY CtJR'INISBIGSBY acriminalforfeituremoneyjudgmentintheamount
2 1 ofS4.128,554.00 in United StatesCurrency pursuantto Fed. R.Crim.P.32.2(b)(4)(A)and(B)'
                                                                                         ,Tille
22 18.l.lnitedStatesCode.Section981(a)(1)(C)andTitle28,UnitedStatesCode,Section2461(c);Title
23 18,United StatesCode,Sections982(a)(2)(A)and 982(a)(2)(B),
                                                            'and'
                                                                l'itle21.UnitedStatesCode,
24 Sedion853(p).
25.          D A'IY D this   l dayofX       . .               ..... .- .. .   ,   20 11.
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